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                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,
                                                Case No. CR 10-70-E-BLW
               Plaintiff,
                                                MEMORANDUM DECISION
      v.                                        AND ORDER


HECTOR SALINAS-DIAZ, et al.,

               Defendants.




      The Court has before it a motion to continue trial filed by defendant Salinas-

Diaz. The co-defendants have all pled guilty and are awaiting sentencing. The

defendant requests additional time so that his counsel will have adequate time to

prepare for trial. Defense counsel requests at least 30 days, and the Court finds

that a continuance until December 20, 2010, would be reasonable given the

complexities of this case.

      Under all these circumstances, the Court finds that a continuance is needed

to give defense counsel an opportunity to provide an effective defense. Thus, a

continuance is warranted under 18 U.S.C. §3161(h)(7)(B)(iv) which authorizes a

finding of excludable time when the refusal to grant a continuance would “deny
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counsel for the defendant ... the reasonable time necessary for effective preparation

....” Under these circumstances, the interests of justice in allowing the defense

time for effective preparation outweighs the Defendant’s and the public’s interest

in a speedy trial under 18 U.S.C. §3161(h)(7)(A).

         The statements of defense counsel establish that the trial should be reset on

December 20, 2010, at 1:30 p.m. The Court finds that the period of time between

the motion for continuance and the new trial date is excludable time under the

Speedy Trial Act. Accordingly,

               NOW THEREFORE IT IS HEREBY ORDERED, that the Motion for

continuance (docket no. 93) filed by Defendant be, and the same is hereby,

GRANTED, and that the present trial date be VACATED, and that a new trial be

set for December 20, 2010, at 1:30 p.m. in the Federal Courthouse in Pocatello,

Idaho.

         IT IS FURTHER ORDERED, that the period of time between the filing of

the motion for continuance and the new trial date be deemed EXCLUDABLE

TIME under the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A).

         IT IS FURTHER ORDERED, that the pretrial conference shall be held on

December 9, 2010, at 4:00 p.m. by telephone with the Government to initiate the

call. The Court can be reached at 208-334-9145. The defendant need not be on the


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line as only logistics will be discussed.

      IT IS FURTHER ORDERED, that the Defendant shall file all pretrial

motions on or before December 9, 2010.

                                        DATED: October 25, 2010



                                        B. LYNN WINMILL
                                        Chief Judge
                                        United States District Court




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